               Case 2:18-cv-00928 Document 1 Filed 06/25/18 Page 1 of 28



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8                                UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
9
                                          AT SEATTLE
10

11   Yolany PADILLA, Ibis GUZMAN, and
     Blanca ORANTES;                                Case No. 2:18-cv-928
12

13
                          Plaintiffs-Petitioners,
                                                    COMPLAINT—CLASS ACTION FOR
14                   v.                             INJUNCTIVE AND DECLARATORY
                                                    RELIEF
15   U.S. Immigration and Customs Enforcement
16
     (“ICE”); U.S. Department of Homeland
     Security (“DHS”); U.S. Customs and Border
17   Protection (“CBP”); U.S. Citizenship and
     Immigration Services (“USCIS”); U.S.
18   Department of Health and Human Services
     (“HHS”); Office of Refugee Resettlement
19
     (“ORR”); Thomas Homan, Acting Director of
20   ICE; Kirstjen Nielsen, Secretary of DHS;
     Kevin K. McAleenan, Acting Commissioner
21   of CBP; L. Francis Cissna, Director of
     USCIS; Alex M. Azar II, Secretary of HHS;
22
     Scott Lloyd, Director of ORR; and Marc J.
23   Moore, Seattle Field Office Director, ICE;

24                        Defendants-Respondents.
25

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28
     COMPLAINT - 0                                       NORTHWEST IMMIGRANT RIGHTS PROJECT
                                                                      615 Second Avenue, Suite 400
                                                                                 Seattle, WA 98104
                                                                          Telephone (206) 957-8611
                 Case 2:18-cv-00928 Document 1 Filed 06/25/18 Page 2 of 28



1                                          INTRODUCTION

2           1.       This case challenges the United States government’s forcible separation of
3
     parents from their minor children for no legitimate reason and notwithstanding the threat of
4
     irreparable psychological damage that separation causes children.
5
            2.       This case also challenges the United States government’s practice of prolonging
6

7    the separation and detention of families by failing to expeditiously conduct credible fear

8    interviews, which trigger the detained immigrants’ rights to appear before an immigration
9
     judge to present their asylum claims and to request individual custody hearings to seek their
10
     release.
11
            3.       Plaintiffs Ibis Guzman, Blanca Orantes, and Yolany Padilla are parents who
12

13
     entered the United Sates with their children seeking asylum. In May 2018, federal immigration

14   authorities took their children away from them and then transferred Plaintiffs to immigration
15   detention in Washington State, thousands of miles from their children. The government has
16
     refused to release them or even allow them to be reunited with their children during the
17
     pendency of their civil immigration proceedings.
18
            4.       The government separated Ms. Guzman from her five-year-old son, R.G.,
19

20   transferring and detaining them in facilities thousands of miles from each other.

21          5.       The government separated Ms. Orantes from her eight-year-old son, A.M.,
22
     transferring and detaining them in facilities thousands of miles from each other.
23
            6.       The government separated Ms. Padilla from her six-year-old son, J.A.,
24
     transferring and detaining them in facilities thousands of miles from each other.
25

26          7.       Mss. Guzman, Orantes, and Padilla bring this action on behalf of themselves and

27   other similarly situated, asking this Court to order the government to reunite them with their
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                  Case 2:18-cv-00928 Document 1 Filed 06/25/18 Page 3 of 28



1    children, from whom they have been separated now for more than a month. None of them have

2    been permitted to visit or even see their children.
3
            8.       The United States government has not provided these mothers with a credible
4
     fear interview. Thus, they have been unable to even initiate their applications for asylum or to
5
     request a custody hearing before an immigration judge to petition for their release. Moreover,
6

7    there is no established framework of time in which they can expect to be reunited with their

8    children.
9
            9.       These mothers bring this action on behalf of the dozens of other parents detained
10
     in Washington State whom the government has forcibly separated from their children and
11
     continues to separate. Like Mss. Guzman, Orantes, and Padilla, these parents have fled
12

13
     persecution and are seeking asylum in the United States. Without any assertions of abuse,

14   neglect, or parental unfitness, and with no hearings of any kind, the government is detaining
15   these parents on the other side of the country from their young children, who have been left to
16
     face an uncertain future frightened and alone. Many of these parents have been unable to even
17
     speak to their children since their separation.
18
            10.      Forced separation from parents causes severe trauma to children, especially
19

20   those who are already traumatized and are fleeing persecution in their home countries. The

21   resulting cognitive and emotional damage can be permanent.
22
            11.      Such forced separation is also deeply damaging to parents, many of whom have
23
     little to no information regarding the well-being of their children and fear they may never see
24
     them again.
25

26          12.      Defendants have ample ways to keep parents together with their children. They

27   may parole them into the country, or release them on bond or supervised conditions as they
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1    pursue the often-lengthy asylum process, pursuant to the government’s prior policy. If,

2    however, the government insists on continuing to detain these parents and children, it must at a
3
     minimum detain them together in one of its immigration family detention centers.
4
            13.      Moreover, if the government chooses to detain them, it must provide prompt
5
     credible fear interviews, affording the detained asylum seekers the opportunity to initiate the
6

7    asylum process without suffering prolonged separation and detention.

8           14.      The Due Process Clause of the Fifth Amendment does not permit the
9
     government to forcibly take minor children from their parents without a compelling
10
     justification. The Due Process Clause also prevents the government from separating these
11
     families without a hearing. That separation also violates the asylum statutes, which guarantee a
12

13
     meaningful right to apply for asylum, and the Administrative Procedure Act (APA), which

14   prohibits arbitrary government action. Additionally, the government’s unreasonable delay in
15   providing credible fear interviews for plaintiff mothers and class members further prolongs
16
     their separation from their children and the detention of the family, constituting agency action
17
     unlawfully withheld or unreasonably delayed under the APA.
18
                                              JURISDICTION
19

20          15.      This case arises under the Fifth Amendment to the United States Constitution,

21   federal asylum statutes, and the APA. The court has jurisdiction under 28 U.S.C. § 1331
22
     (federal question jurisdiction); 28 U.S.C. § 2241 (habeas jurisdiction); and Art. I., § 9, cl. 2 of
23
     the United States Constitution (“Suspension Clause”). Plaintiffs are in custody for purposes of
24
     habeas jurisdiction.
25

26                                                 VENUE

27

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1           16.      Venue is proper under 28 U.S.C. § 1391 because Mss. Guzman, Orantes, and

2    Padilla are detained within this District and a substantial portion of the relevant facts occurred
3
     within this District, including the continued separation of Plaintiffs from their children.
4
     Defendant DHS, with its local field office located in Tukwila, Washington, is responsible for
5
     determining whether Plaintiffs will be released, and how soon their cases will be submitted for
6

7    hearings before the immigration court.

8                                                PARTIES
9
            17.      Plaintiff Guzman is a citizen of Honduras. She is the mother of five-year-old
10
     R.G.
11
            18.      Plaintiff Orantes is a citizen of El Salvador. She is the mother of eight-year-old
12

13
     A.M.

14          19.      Plaintiff Padilla is a citizen of Honduras. She is the mother of six-year-old J.A.
15          20.      Defendant U.S. Department of Homeland Security (“DHS”) has responsibility
16
     for enforcing the immigration laws of the United States.
17
            21.      Defendant U.S. Immigration and Customs Enforcement (“ICE”) is the sub-
18
     agency of DHS that is responsible for carrying out removal orders and overseeing immigration
19

20   detention.

21          22.      Defendant U.S. Customs and Border Protection (“CBP”) is the sub-agency of
22
     DHS that is responsible for the initial processing and detention of noncitizens who are
23
     apprehended near the U.S. border, including referring them for a credible fear interview by an
24
     asylum officer.
25

26          23.      Defendant U.S. Citizenship and Immigration Services (“USCIS”) is the sub-

27   agency of DHS that, through its asylum officers, conducts interviews of certain individuals
28
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1    apprehended at the border to determine whether they have a credible fear of persecution and

2    should be permitted to apply for asylum.
3
             24.      Defendant U.S. Department of Health and Human Services (“HHS”) is a
4
     department of the executive branch of the U.S. government which has been delegated with
5
     authority over “unaccompanied” noncitizen children.
6

7            25.      Defendant Office of Refugee Resettlement (“ORR”) is the component of HHS

8    which provides care of and placement for “unaccompanied” noncitizen children.
9
             26.      Defendant Thomas Homan is sued in his official capacity as the Director of ICE,
10
     and is a legal custodian of Plaintiffs.
11
             27.      Defendant Marc J. Moore is sued in his official capacity as the ICE Seattle Field
12

13
     Office Director, and is a legal custodian of Plaintiffs.

14           28.      Defendant Kirstjen Nielsen, is sued in her official capacity as the Secretary of
15   DHS. In this capacity, she directs each of the component agencies within DHS: ICE, USCIS,
16
     and CBP. As a result, Defendant Nielsen has responsibility for the administration of the
17
     immigration laws pursuant to 8 U.S.C. § 1103, is empowered to grant asylum or other relief,
18
     and is a legal custodian of the Plaintiffs.
19

20           29.      Defendant L. Francis Cissna is sued in his official capacity as the Director of

21   USCIS.
22
             30.      Defendant Kevin K. McAleenan is sued in his official capacity as the
23
     Commissioner of CBP.
24
             31.      Defendant Alex M. Azar II is sued in his official capacity as the Secretary of
25

26   HHS.

27           32.      Defendant Scott Lloyd is sued in his official capacity as the Director of ORR.
28
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1                                                 FACTS

2           33.      Over the last few months, the government has separated hundreds of migrant
3
     families after they were apprehended together at the border.
4
            34.      Upon information and belief, 2,342 children have been separated from their
5
     parents at or near the U.S.-Mexico border since early May 2018 alone. See, e.g., Camila
6

7    Domonoske & Richard Gonzales, What We Know: Family Separation And ‘Zero Tolerance’ At

8    The Border, NPR NEWS (June 19, 2018), https://www.npr.org/2018/06/19/621065383/what-we-
9
     know-family-separation-and-zero-tolerance-at-the-border (last visited June 20, 2018).
10
            35.      The vast majority of these migrant families fled persecution and are seeking
11
     asylum.
12

13
            36.      The government has no legitimate purpose in separating these families while

14   they go through their civil immigration proceedings.
15          37.      There are no allegations that the parents are unfit or abusing their children in any
16
     way, yet the government has forcibly separated them from their children and detained the
17
     children, generally thousands of miles away, in facilities for “unaccompanied” children. The
18
     parents, for their part, have been transferred to detention facilities around the country to await
19

20   their civil immigration proceedings. The plaintiff mothers and proposed class members in this

21   case were transferred to Washington State—thousands of miles from their initial apprehension.
22
            38.      Some parents were separated from their children when they arrived at a port of
23
     entry seeking asylum.
24
            39.      Upon information and belief, many parents were initially separated from their
25

26   children in order to face federal criminal prosecution for entering the country without

27   permission. Indeed, in April 2018, Attorney General Sessions announced a “zero-tolerance
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1    policy” requiring all U.S. Attorney’s Offices along the U.S.-Mexico border to prioritize the

2    prosecution of offenses under 8 U.S.C. § 1325(a) (improper entry). See Dep’t of Justice, Office
3
     of Public Affairs, “Attorney General Announces Zero-Tolerance Policy for Criminal Illegal
4
     Entry,” Press Release No. 18-417 (Apr. 6, 2018), available at
5
     https://www.justice.gov/opa/pr/attorney-general-announces-zero-tolerance-policy-criminal-
6

7    illegal-entry (last visited June 22, 2018); U.S. Customs and Border Protection, “Zero Tolerance

8    Immigration Prosecutions – Family Fact Sheet” (June 15, 2018), available at
9
     https://www.cbp.gov/newsroom/zero-tolerance-immigration-prosecutions-family-fact-sheet
10
     (“The Attorney General directed United States Attorneys on the Southwest Border to prosecute
11
     all amenable adults who illegally enter the country, including those accompanied by their
12

13
     children, for 8 U.S.C. § 1325(a), illegal entry.”).

14          40.      Thus, many of these parents were charged and prosecuted with the misdemeanor
15   crime of improper entry under 8 U.S.C. § 1325. Most were sentenced to time served, generally
16
     three to four days.
17
            41.      However, after the parents served their time on their federal convictions, the
18
     government did not reunite them with their children. Instead, it held the parents for several
19

20   more days or weeks at facilities on the southern border before transferring them to federal

21   prisons across the country, keeping them imprisoned while waiting to begin processing them
22
     for civil immigration proceedings. The parents have not been permitted to even visit or see their
23
     children. Many have not been permitted to speak with their children.
24
            42.      The federal government has continued to separate the children from their parents
25

26   for several weeks—all the while failing to provide parents their credible fear interviews in

27   order to continue pursuing their asylum claim, and failing to provide them information on when
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1    they will appear in front of an immigration judge, much less when they will be reunited with

2    their children.
3
             43.       What is more, news reports have documented instances of parents who have
4
     been released from immigration detention—or been deported—but have not been reunited with
5
     their children. See, e.g., Eli Rosenberg, Woman sues to get her son, 7, back from Border Patrol,
6

7    THE MERCURY NEWS (June 20, 2018), https://www.mercurynews.com/2018/06/20/woman-

8    sues-to-get-her-son-7-back-from-border-patrol/ (last visited June 21, 2018); Miriam Jordan, ‘I
9
     Can’t Go Without My Son,’ a Mother Pleaded as She Was Deported to Guatemala, N.Y. TIMES
10
     (June 17, 2018) https://www.nytimes.com/2018/06/17/us/immigration-deported-parents.html
11
     (last visited June 21, 2018).
12

13
             44.       Government officials have confirmed that the policy of family separation is

14   intended to deter individuals from unlawfully entering the United States with their children.
15   See, e.g., Philip Bump, Here are the administration officials who have said that family
16
     separation is meant as a deterrent, THE WASHINGTON POST (June 19, 2018)
17
     https://www.washingtonpost.com/news/politics/wp/2018/06/19/here-are-the-administration-
18
     officials-who-have-said-that-family-separation-is-meant-as-a-
19

20   deterrent/?utm_term=.bbb784318bc0 (last visited June 22, 2018) (collecting public statements

21   by White House Chief of Staff John F. Kelly, Attorney General Sessions, and Defendant
22
     Nielsen); see also Rafael Bernal, DHS Head Confirms He’s Considering Separating Families
23
     at Border, THE HILL (Mar. 6, 2017), http://thehill.com/latino/322608-dhs-head-confirms-hes-
24
     considering-separating-families-at-border (last visited June 25, 2018); Caitlin Dickerson & Ron
25

26   Nixon, Trump Administration Considers Separating Families to Combat Illegal Immigration,

27   N.Y. TIMES (Dec. 21, 2017),
28
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                Case 2:18-cv-00928 Document 1 Filed 06/25/18 Page 10 of 28



1    https://www.nytimes.com/2017/12/21/us/trump-immigrant-families-separate.html (last visited

2    June 22, 2018).
3
            45.      News sources have reported that holding noncitizen children separated from
4
     their parents in newly created “tent city” facilities is twice as costly as detaining the children
5
     together with their parents. Julia Ainsley, Trump admin’s ‘tent cities’ cost more than keeping
6

7    migrant kids with parents, NBC News (June 20, 2018),

8    https://www.nbcnews.com/politics/congress/house-rejects-conservative-immigration-bill-
9
     delays-vote-gop-compromise-measure-n885406 (last visited June 21, 2018).
10
            46.      After much public outcry, on June 20, 2018, President Donald J. Trump issued
11
     an Executive Order (EO) addressing the policy and practice of family separation. EO 13841,
12

13
     “Affording Congress an Opportunity to Address Family Separation,” § 1, 83 FR 29435 (June

14   20, 2018). The EO announces that it is the “policy of this Administration to maintain family
15   unity, including by detaining alien families together where appropriate and consistent with law
16
     and available resources.” Id.
17
            47.      The EO further calls for the Secretary of DHS to “maintain custody of alien
18
     families during the pendency of any criminal improper entry or immigration proceedings
19

20   involving their members.” Id. § 3(e).

21          48.      Accordingly, under the EO, families will be detained throughout lengthy civil
22
     immigration proceedings—that is, for an indefinite period.
23
            49.      However, the EO does not prohibit the separation of families during the
24
     pendency of immigration proceedings.
25

26          50.      Moreover, it does not address what action, if any, the government will take with

27   respect to families the government has already forcibly separated. In fact, news sources report
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1    that “more than 2,300 children who have already been separated from their parents under the

2    president’s ‘zero tolerance’ policy will not be immediately reunited with their families while
3
     the adults remain in federal custody during their immigration proceedings.” Michael D. Shear,
4
     Abby Goodnough, & Maggie Haberman, Trump Retreats on Separating Families, but
5
     Thousands Will Remain Apart, N.Y. TIMES (June 20, 2018), https://www.msn.com/en-
6

7    us/news/us/trump-retreats-on-separating-families-but-thousands-will-remain-apart/ar-

8    AAyVnxm (last visited June 22, 2018) (quoting Kenneth Wolfe, a spokesman for the
9
     Administration for Children and Families within Defendant HHS, as stating that “[t]here will
10
     not be a grandfathering of existing cases”).
11
              51.      Indeed, upon information and belief, the government does not have a plan in
12

13
     place for reuniting these parents with their children. Jonathan Blitzer, The Government Has No

14   Plan for Reuniting the Immigrant Families It Is Tearing Apart, THE NEW YORKER (June 18,
15   2018), https://www.newyorker.com/news/news-desk/the-government-has-no-plan-for-
16
     reuniting-the-immigrant-families-it-is-tearing-apart (last visited June 22, 2018) (noting that no
17
     protocols are in place to track parents and children or for reuniting them). 1
18

19            52.      On June 23, 2018, DHS issued a Memorandum instructing that the government

20   has taken “the following steps toward reunification:
21            Implemented an identification mechanism to ensure on-going tracking of
22
              linked family members throughout the detention and removal process;
              Designated detention locations for separated parents and will enhance current
23            processes to ensure communication with children in HHS custody;
              Worked closely with foreign consulates to ensure that travel documents are
24            issued for both the parent and child at time of removal; and
25   1
               Prior administrations detained migrant families, but did not have a practice of forcibly separating fit
     parents from their young children. Instead, families were generally released upon demonstrating a credible fear of
26
     persecution. They were then able to live with family or community members while they awaited the immigration
     court to adjudicate their asylum applications. In cases where the family was not released, they were housed
27
     together with their children at government-operated family detention centers.
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1           Coordinated with HHS for the reuniting of the child prior to the parents’
            departure from the United States.”
2
     None of these steps include any plans to reunite the children with their parents unless they are
3

4    scheduled for departure from the United States. See Dep’t of Homeland Sec., “Fact Sheet:

5    Zero-Tolerance Prosecution and Family Reunification” (June 23, 2018), available at
6    https://www.dhs.gov/news/2018/06/23/fact-sheet-zero-tolerance-prosecution-and-family-
7
     reunification (last visited June 25, 2018).
8
            53.       There is overwhelming medical evidence that the separation of a young child
9

10
     from his or her parent will have a devastating negative impact on the child’s well-being,

11   especially where there are other traumatic factors at work, and that this damage can be

12   permanent.
13
            54.       The American Association of Pediatrics has repeatedly denounced any policy or
14
     practice of separating migrant children from their parents, noting in a January 2018 letter
15
     signed with more than 200 other organizations that: “Forced separation disrupts the parent-
16

17   child relationship and puts children at increased risk for both physical and mental illness. . . .

18   [T]he psychological distress, anxiety, and depression associated with separation from a parent
19
     would follow the children well after the immediate period of separation—even after the
20
     eventual reunification with a parent or other family.” Letter to Kirstjen M. Nielsen, Secretary of
21
     U.S. Dep’t of Homeland Sec. (Jan. 16, 2018), available at
22

23   https://static1.squarespace.com/static/597ab5f3bebafb0a625aaf45/t/5a5e55cf0d9297a44bbb8d3

24   e/1516131791958/2018_01_16+Child+Welfare+Juvenile+Justice+Opposition+to+Parent+Chil
25   d+Separation+Plan.pdf (last visited June 22, 2018).
26

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1            55.      The harm caused by this forced separation is compounded by the government’s

2    delay in processing parents’ claims for asylum, which continues to unreasonably prolong those
3
     parents’ separation from their children and their detention.
4
             56.      Upon first interacting with federal immigration officials—often CBP officers or
5
     Border Patrol agents—the overwhelming majority of these parents expressed their need for
6

7    protection or intention to seek asylum. The law requires that Defendant CBP then refer the

8    asylum-seekers to Defendant USCIS to conduct an interview to assess whether they possess a
9
     credible fear of persecution. See 8 U.S.C. § 1225(b)(1)(A)(ii); 8 C.F.R. § 235.3(b)(4).
10
             57.      If an asylum officer makes a positive determination, the asylum-seeker is
11
     referred to an immigration judge for a hearing on the petition for asylum. See 8 C.F.R.
12

13
     § 208.30(f). If still detained, the asylum-seeker is also then entitled to petition for their release

14   at an individual custody hearing before an immigration judge. 8 C.F.R. § 1236.1(d).
15           58.      If the asylum officer does not find the expressed fear of persecution to be
16
     credible, the noncitizen may seek review of the adverse credible fear determination before an
17
     immigration judge. See 8 C.F.R. § 208.30(g).
18
             59.      Thus, Plaintiffs must first receive their credible fear interview before they are
19

20   entitled to present their asylum claims, along with any petition for individual custody hearings,

21   to an immigration judge. Yet Defendants have unreasonably delayed providing this requisite
22
     first step.
23
             60.      Moreover, despite Defendants’ assertion that “a parent who is ordered removed
24
     from the U.S. may request that his or her minor child accompany them,” Defendants carve out
25

26   an exception for those deemed to be a “criminal alien.” See Dep’t of Homeland Sec., “Fact

27   Sheet: Zero-Tolerance Prosecution and Family Reunification” (June 23, 2018), available at
28
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1    https://www.dhs.gov/news/2018/06/23/fact-sheet-zero-tolerance-prosecution-and-family-

2    reunification (last visited June 25, 2018) (“There will be a small number of children who were
3
     separated for reasons other than zero tolerance that will remain separated: generally only if the
4
     familial relationship cannot be confirmed, we believe the adult is a threat to the safety of the
5
     child, or the adult is a criminal alien.”).
6

7            61.      This exception could be applied to all who are charged for improper entry under

8    8 U.S.C. § 1325, in effect nullifying any assurance that the government will not physically
9
     deport the parent without reunifying them with their child first.
10
                                            Plaintiff Ibis Guzman
11
             62.      Ms. Guzman and her five-year-old son R.G. are one of the many families that
12

13
     have recently been separated by the government.

14           63.      Ms. Guzman and her son are seeking asylum in the United States.
15           64.      On or about May 16, 2018, Ms. Guzman and her son arrived in the United
16
     States. When they were apprehended by Border Patrol agents for entering without inspection,
17
     Ms. Guzman informed them that she and R.G. are seeking asylum.
18
             65.      Ms. Guzman and her son were transported to a holding facility known as an
19

20   “hielera,” or freezer, because of the freezing temperatures of the rooms. Ms. Guzman was then

21   questioned by Border Patrol officers.
22
             66.      After initial questioning, an officer came and forcibly took Ms. Guzman’s son,
23
     falsely informing her she would be able to see him again in three days.
24
             67.      After those three days, Ms. Guzman was transferred to another CBP facility. She
25

26   inquired with officers about reunification with her son. They told her they did not know

27   anything about the boy’s whereabouts.
28
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                Case 2:18-cv-00928 Document 1 Filed 06/25/18 Page 15 of 28



1             68.     Ms. Guzman was then transferred to a facility in Laredo, Texas, where she was

2    detained without any knowledge of the whereabouts of her child and without any means to
3
     contact him. She did not receive any information about him during this time, despite her
4
     repeated attempts to obtain such information.
5
              69.     About two weeks later, Ms. Guzman was transferred to the Federal Detention
6

7    Center in SeaTac, Washington. After being held there for about another week, she was finally

8    informed her child had been placed with Baptist Child and Family Services in San Antonio,
9
     Texas, thousands of miles from where she was being held. She was still unable to contact him.
10
              70.     On June 20, 2018, Ms. Guzman was transferred to the Northwest Detention
11
     Center in Tacoma, Washington, where she continues to be held, separated from her minor
12

13
     child.

14            71.     Ms. Guzman has not yet received a credible fear interview.
15            72.     Every day that R.G. is separated from his mother causes him greater emotional
16
     and psychological harm and could potentially lead to permanent emotional trauma.
17
              73.     Ms. Guzman is extremely distraught and depressed because of the separation
18
     from her son, and cries when she speaks about him. She worries he is also experiencing anxiety
19

20   from the separation and may not be eating. In Honduras, she was a single mother and was with

21   her son almost constantly, so being apart from him affects her profoundly.
22
              74.     The government has no legitimate interest in separating Ms. Guzman and her
23
     child.
24
              75.     There has been no evidence, or even accusation, that R.G. was abused or
25

26   neglected by Ms. Guzman.

27

28
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1            76.      There has been no evidence, or even accusation, that Ms. Guzman is a threat to

2    R.G.’s safety.
3
             77.      There has been no evidence, or even accusation, that Ms. Guzman is an unfit
4
     parent or that she is not acting in the best interests of her child.
5
                                          Plaintiff Blanca Orantes
6

7            78.      Ms. Orantes and her eight-year-old son, A.M., also seek asylum in the United

8    States, and are also a family recently separated by the government.
9
             79.      On or around May 21, 2018, Ms. Orantes and A.M. entered the United States
10
     without inspection. She immediately walked with her child to the CBP station to request
11
     asylum, and was then apprehended by CBP officers.
12

13
             80.      Ms. Orantes and her son were transported to a CBP facility. Before entering the

14   building, the CBP officers led Ms. Orantes into a hielera with other adults, and her son into
15   another part of the station with other children.
16
             81.      Ms. Orantes was later interviewed by a CBP officer. At that time, another officer
17
     brought A.M. to her and told her to “say goodbye” to him because they were being separated.
18
     A.M. began crying and pleading Ms. Orantes not to leave. She has not seen her son since that
19

20   date.

21           82.      On or around May 24, 2018, Ms. Orantes was handcuffed and taken to court,
22
     where she pled guilty to improper entry under 8 U.S.C. § 1325 and was sentenced to time
23
     served. She was then returned to her cell.
24
             83.      About nine days after this, Ms. Orantes was transported to the Federal Detention
25

26   Center in SeaTac, Washington.

27

28
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1             84.     Ms. Orantes was not provided any information about her child until June 9th,

2    when an ICE officer handed her a slip of paper advising that her son was being held at
3
     Children’s Home of Kingston, in Kingston, New York.
4
              85.     On June 20th, Ms. Orantes was transferred to the Northwest Detention Center in
5
     Tacoma, Washington, where she is currently being held, still forcibly separated from her son. It
6

7    was not until that date—about a month after their separation—that she was finally able to speak

8    to A.M. To date, she has spoken to her son twice.
9
              86.     Ms. Orantes has not yet received a credible fear interview.
10
              87.     Every day that A.M. is separated from his mother causes him greater emotional
11
     and psychological harm and could potentially lead to permanent emotional trauma.
12

13
              88.     Ms. Orantes is experiencing deep distress and mental pain because of the

14   separation from her son. She constantly feels hopeless and distraught, not knowing when she
15   will see her son again. Ms. Orantes is concerned about A.M.’s physical wellbeing and fears that
16
     he may be feeling abandoned and isolated.
17
              89.     The government has no legitimate interest in separating Ms. Orantes and her
18
     child.
19

20            90.     There has been no evidence, or even accusation, that A.M. was abused or

21   neglected by Ms. Orantes.
22
              91.     There has been no evidence, or even accusation, that Ms. Orates is a threat to
23
     A.M.’s safety.
24
              92.     There has been no evidence, or even accusation, that Ms. Orantes is an unfit
25

26   parent or that she is not acting in the best interests of her child.

27

28
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1                                         Plaintiff Yolany Padilla

2           93.       Ms. Padilla and her six-year-old son, J.A., also came to the United States
3
     seeking asylum, and are one of the families recently separated by the government.
4
            94.       Ms. Padilla and her son fled Honduras and arrived in the U.S. on or about May
5
     18, 2018. They were arrested by a Border Patrol agent as they were making their way to a
6

7    nearby port of entry.

8           95.       When they arrived at the port of entry, an officer there announced to her and the
9
     rest of the group that the adults and children were going to be separated. The children old
10
     enough to understand the officer began to cry. J.A. clutched his mother’s shirt and said, “no,
11
     mommy, I don’t want to go.” Ms. Padilla reassured her son that any separation would be short,
12

13
     and that everything would be okay. She was able to stay with her son until they were

14   transferred later that day to a hielera, where they were forcibly separated without explanation.
15          96.       Ms. Padilla saw her son just one more time about a day later, when the
16
     immigration officers took a photograph of the two together. That was the last time she saw J.A.
17
            97.       While they were in that facility, Ms. Padilla informed the immigration officers
18
     that she and her son were afraid to return to Honduras.
19

20          98.       About three days later, Ms. Padilla was transferred to another facility in Laredo,

21   Texas. The officers in that facility took her son’s birth certificate from her. When she asked for
22
     it back, she was told that the immigration authorities had it. No one has returned Ms. Padilla’s
23
     son’s birth certificate to her.
24
            99.       About twelve days later, Ms. Padilla was transferred to the Federal Detention
25

26   Center in SeaTac, Washington.

27

28
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1             100.    Ms. Padilla was told that she would be criminally charged, but was not taken to

2    a court or presented before a judge.
3
              101.    Despite repeated inquiries into her son’s whereabouts, Ms. Padilla was not
4
     provided any information about him until about a month into her detention, when the Honduran
5
     consul visited the detention center and she explained she had no news of her six-year-old son.
6

7    Soon thereafter, she was given a piece of paper saying he was in a place called Cayuga Center

8    in New York, along with a phone number. She was unable to contact him, however, because
9
     she did not have money to make a call.
10
              102.    She was finally able to speak to him a day later, when someone gave her the
11
     opportunity to call him for ten minutes. During the call, the boy mostly cried quietly. Ms.
12

13
     Padilla has been unable to call him again.

14            103.    Ms. Padilla has not yet received a credible fear interview.
15            104.    Every day that J.A. is separated from his mother causes him greater emotional
16
     and psychological harm and could potentially lead to permanent emotional trauma.
17
              105.    Ms. Padilla is extremely distraught and depressed because of the separation from
18
     her son, from whom she had never been separated before. She cries when she speaks about
19

20   him. She worries about his emotional well-being and whether he is eating.

21            106.    The government has no legitimate interest in separating Ms. Padilla and her
22
     child.
23
              107.    There has been no evidence, or even accusation, that J.A. was abused or
24
     neglected by Ms. Padilla.
25

26            108.    There has been no evidence, or even accusation, that Ms. Padilla is a threat to

27   J.A.’s safety.
28
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1           109.      There has been no evidence, or even accusation, that Ms. Padilla is an unfit

2    parent or that she is not acting in the best interests of her child.
3
                                          CLASS ALLEGATIONS
4

5            110.     Mss. Guzman, Orantes, and Padilla bring this action under Federal Rule of Civil

6    Procedure 23(b)(2) on behalf of themselves and a class of all other persons similarly situated
7
     who are or will be detained by DHS in Washington State.
8
             111.     Plaintiffs seek to represent the following class:
9

10                    All parents who (1) are or will be detained in immigration custody by the
                      Department of Homeland Security in Washington State and (2) have been
11                    separated from a minor child by DHS officials, absent a demonstration in a
                      hearing that the parent is unfit or presents a danger to the child.
12

13           112.     Plaintiffs are each adequate representatives of the proposed class.
14
             113.     The proposed class satisfies the requirements of Rule 23(a)(1) because the class
15
     is so numerous that joinder of all members is impracticable.
16
             114.     Upon information and belief, there are at least forty-six parents that currently fit
17

18   within the class.

19           115.     The class meets the commonality requirements of Federal Rule of Civil
20   Procedure 23(a)(2). The members of the class are subject to a common practice by Defendants:
21
     forcibly separating detained parents from their minor children while they are being processed in
22
     civil immigration proceedings. By definition, all class members have experienced that practice,
23

24
     and none has been given an adequate hearing regarding the separation. The lawsuit raises

25   numerous questions of law common to members of the proposed class, including: whether

26   Defendants’ family separation practice violates class members’ substantive due process right to
27
     family integrity; whether the practice violates class members’ procedural due process rights;
28
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1    whether the practice violates the federal asylum statute; whether these separations are arbitrary

2    and capricious under the APA; and whether Defendants’ delay in providing credible fear
3
     interviews constitutes agency action unlawfully withheld or unreasonably delayed under the
4
     APA.
5
            116.      The proposed class meets the typicality requirements of Federal Rule of Civil
6

7    Procedure 23(a)(3), because the claims of the representative Plaintiffs are typical of the claims

8    of the class. Mss. Guzman, Orantes, and Padilla and the proposed class members are all
9
     individuals who have had their children forcibly taken away from them despite there being no
10
     proven allegations of abuse, neglect, or any other danger or unfitness. They have all been
11
     transferred to detention in Washington State solely for the purpose of their civil immigration
12

13
     proceedings. Plaintiffs and the proposed class also share the same legal claims, which assert the

14   same substantive and procedural rights under the Due Process Clause, the asylum statute, and
15   the APA.
16
            117.      The proposed class meets the adequacy requirements of Federal Rule of Civil
17
     Procedure 23(a)(4). The representative Plaintiffs seek the same relief as the other members of
18
     the class—namely, an order that they be expeditiously reunified with their children, whether
19

20   through release or in family detention facilities; that Defendants promptly provide credible fear

21   interviews; that no parent be deported without their child, absent a hearing before a court where
22
     the government demonstrates that it is not in the child’s best interest to be reunified with their
23
     parent. In defending their own rights, Mss. Guzman, Orantes, and Padilla will defend the rights
24
     of all proposed class members fairly and adequately.
25

26

27

28
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1             118.    The proposed class is represented by counsel from the Northwest Immigrant

2    Rights Project. Counsel have extensive experience litigating class action lawsuits and other
3
     complex cases in federal court, including civil rights lawsuits on behalf of noncitizens.
4
              119.    The members of the class are readily ascertainable through Defendants’ records.
5
              120.    The proposed class also satisfies Federal Rule of Civil Procedure 23(b)(2).
6

7    Defendants have acted on grounds generally applicable to the class by unlawfully separating

8    parents from their young children while they are placed in civil immigration proceedings.
9
     Defendants have also unreasonably delayed in conducting class members’ credible fear
10
     interviews. Injunctive and declaratory relief is thus appropriate with respect to the class as a
11
     whole.
12

13                                         CAUSES OF ACTION

14                                                COUNT I
15                                       (Violation of Due Process)
16
                           (Against All Defendants Except USCIS Defendants)
17
              121.    All of the foregoing allegations are repeated and re-alleged as though fully set
18
     forth herein.
19

20            122.    The Due Process Clause of the Fifth Amendment applies to all “persons” on

21   United States soil and thus applies to Mss. Guzman, Orantes, and Padilla and their children as
22
     well as all proposed class members.
23
              123.    Plaintiffs, their children, and all class members have a liberty interest under the
24
     Due Process Clause in remaining together as a family.
25

26

27

28
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1            124.     The separation of the class members from their children violates substantive due

2    process because it furthers no legitimate purpose, much less a compelling governmental
3
     interest.
4
             125.     The separation of the class members from their children also violates procedural
5
     due process because it was undertaken without any hearing.
6

7                                                COUNT II

8                (Administrative Procedure Act—Arbitrary and Capricious Practice)
9
                             (Against All Defendants Except USCIS Defendants)
10
             126.     All of the foregoing allegations are repeated and re-alleged as though fully set
11
     forth herein.
12

13
             127.     The APA prohibits agency action that is arbitrary and capricious and contrary to

14   constitutional right.
15           128.     Defendants’ separation of Plaintiffs and the other class members from their
16
     children without a compelling justification and without a mechanism, protocol, or system to
17
     guarantee their reunification is final agency action that is arbitrary and capricious. It
18
     accordingly violates the APA. 5 U.S.C. § 706(2)(A).
19

20                                               COUNT III

21    (Administrative Procedure Act—Agency Action Unlawfully Withheld or Unreasonably
                                        Delayed)
22

23                           (Against Defendants DHS, CBP, ICE, and USCIS)

24           129.     All of the foregoing allegations are repeated and re-alleged as though fully set
25   forth herein.
26
             130.     Defendant DHS and its sub-agencies are required to conduct an interview to
27
     assess whether an asylum-seeker has a credible fear of persecution. This obligation is triggered
28
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1    when Defendants learn of an individual’s fear of persecution. See 8 U.S.C. § 1225(b)(1)(A)(ii).

2    Asylum-seekers are only permitted to raise their claim before an immigration judge after the
3
     asylum officer conducts the credible fear interview. See 8 C.F.R. § 208.30(f), (g).
4
             131.     Conducting a credible fear interview is a discrete, final agency action that DHS
5
     is required to take.
6

7            132.     Under the APA, an agency has a duty to conclude matters presented to it within

8    a “reasonable time.” 5 U.S.C. § 555(b).
9
             133.     Defendants’ failure to expeditiously conduct a credible fear interview when they
10
     have detained the asylum-seekers and separated them from their children constitutes “an
11
     agency action unlawfully withheld or unreasonably delayed” under the APA, see 5 U.S.C.
12

13
     § 706(1), for such delay prolongs the baseless separation between the parents and their

14   children, and extends the time all are detained.
15                                               COUNT IV
16
                                       (Violation of Asylum Statute)
17
             134.     All of the foregoing allegations are repeated and re-alleged as though fully set
18
     forth herein.
19

20           135.     Under United States law, noncitizens fleeing persecution shall have the

21   opportunity to apply for asylum in the United States. See 8 U.S.C. § 1225(b)(1) (expedited
22
     removal); 8 C.F.R. §§ 235.3(b)(4), 208.30, and 1003.42; 8 U.S.C. § 1158(a)(1). Plaintiffs have
23
     a private right of action to vindicate their right to apply for asylum.
24
             136.     Defendants’ separation of Plaintiffs and the other asylum-seeking class members
25

26   from their children violates federal asylum law, because it infringes on their ability to pursue

27   their asylum claims.
28
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               Case 2:18-cv-00928 Document 1 Filed 06/25/18 Page 25 of 28



1                                        PRAYER FOR RELIEF

2           Plaintiffs request that the Court enter a judgment against Defendants and award the
3
     following relief:
4
            A. Certify a class of all parents who (1) are or will be detained in immigration custody
5
                by the Department of Homeland Security in Washington State and (2) have been
6

7               separated from a minor child by DHS officials, absent a demonstration in a hearing

8               that the parent is unfit or presents a danger to the child.
9
            B. Name Mss. Guzman, Orantes, and Padilla as representatives of the class, and
10
                appoint their counsel as class counsel;
11
            C. Declare the separation of Mss. Guzman, Orantes, and Padilla and all the other class
12

13
                members from their children unlawful;

14          D. Preliminarily and permanently enjoin Defendants from continuing to separate Mss.
15              Guzman, Orantes, and Padilla and all the other class members by detaining them in
16
                separate locations from where their children are held;
17
            E. Where Plaintiffs’ children have not already been released, order Defendants to
18
                expeditiously release Mss. Guzman, Orantes, and Padilla and all the other class
19

20              members along with their children, or to immediately reunite the parents with their

21              children in a facility where they may remain together;
22
            F. Order Defendants to conduct credible fear interviews for Mss. Guzman, Orantes,
23
                and Padilla and all the other class members who have not received one within seven
24
                days of the Court’s order;
25

26          G. Declare that Defendants have an obligation to provide credible fear interviews for

27              persons subject to expedited removal under 8 U.S.C. § 1225 within 10 days of any
28
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1               individual requesting asylum or expressing a fear of persecution or torture if that

2               person remains detained;
3
            H. Enjoin Defendants from removing Mss. Guzman, Orantes, and Padilla, and all the
4
                other class members, from the country until they are reunited with their children, in
5
                the event they are not permitted to remain in the United States, absent the parent’s
6

7               permission or a hearing before a court where the government demonstrates that it is

8               not in the child’s best interest to be reunified with their parent;
9
            I. Require Defendants to pay reasonable attorneys’ fees and costs;
10
            J. Order all other relief that is just and proper.
11

12   Dated this 25th day of June, 2018.
13

14   Respectfully submitted,

15   NORTHWEST IMMIGRANT RIGHTS PROJECT
16
     s/ Matt Adams
17
     Matt Adams, WSBA No. 28287
     615 Second Avenue, Suite 400
18   Seattle, WA 98104
     (206) 957-8611
19   matt@nwirp.org
20
     s/ Glenda M. Aldana Madrid
21   Glenda M. Aldana Madrid, WSBA No. 46987
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23
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24
     s/ Leila Kang
25   Leila Kang, WSBA No. 48048
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26
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27    (206) 957-8608
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28
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                                                                                  Telephone (206) 957-8611
               Case 2:18-cv-00928 Document 1 Filed 06/25/18 Page 27 of 28



1

2    Attorneys for Plaintiffs

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     COMPLAINT - 26                                NORTHWEST IMMIGRANT RIGHTS PROJECT
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1                                   CERTIFICATE OF SERVICE

2           I, Matt Adams, hereby certify that on June 25, 2018, I electronically filed the foregoing
3
     with the Clerk of the Court using the CM/ECF system.
4

5    Dated: June 25, 2018.
6    s/ Matt Adams
7
     Matt Adams, WSBA No. 28287
     615 Second Avenue, Suite 400
8    Seattle, WA 98104
      (206) 957-8608
9    matt@nwirp.org
10

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     COMPLAINT - 27                                          NORTHWEST IMMIGRANT RIGHTS PROJECT
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                                         Case 2:18-cv-00928 Document 1-1 Filed 06/25/18 Page 1 of 2
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Yolany Padilla, Ibis Guzman, Blanca Orantes,                                                                U.S. Immigration and Customs Enforcement, et al.,


    (b) County of Residence of First Listed Plaintiff             King                                        County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Matt Adams, Glenda M. Aldana Madrid, Leila Kang, Northwest Immigrant
Rights Project, 615 Second Avenue Suite 400 Seattle, WA 98104
206-957-8611

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           U.S. Const. amend. V.; 5 U.S.C. § 706; 8 U.S.C. § 1158
VI. CAUSE OF ACTION Brief description of cause:
                                           Class action challenging U.S. government policy of separating parents and minor children
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
06/25/2018                                                              s/Matt Adams
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 06/17)     Case 2:18-cv-00928 Document 1-1 Filed 06/25/18 Page 2 of 2
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                         Case 2:18-cv-00928 Document 1-2 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Alex Azar, Secretary of the Department of Health and Human Services
                                           c/o Office of the General Counsel
                                           United States Department of Health and Human Services
                                           200 Independence Avenue SW
                                           Washington, DC 20201



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             06/25/2018
                                                                                          Signature of Clerk or Deputy Clerk
                         Case 2:18-cv-00928 Document 1-3 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                             Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Customs and Border Protection
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             06/25/2018
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 2:18-cv-00928 Document 1-4 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                             Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) L. Frank Cissna, Director of USCIS
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             06/25/2018
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 2:18-cv-00928 Document 1-5 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                             Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Department of Homeland Security
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             06/25/2018
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 2:18-cv-00928 Document 1-6 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Department of Health and Human Services
                                           c/o Office of the General Counsel
                                           United States Department of Health and Human Services
                                           200 Independence Avenue SW
                                           Washington, DC 20201



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             06/25/2018
                                                                                          Signature of Clerk or Deputy Clerk
                         Case 2:18-cv-00928 Document 1-7 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                             Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Thomas Homan, Acting Director of United States Immigration and Customs
                                           Enforcement
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             06/25/2018
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 2:18-cv-00928 Document 1-8 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
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                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                             Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Immigration and Customs Enforcement
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             06/25/2018
                                                                                            Signature of Clerk or Deputy Clerk
                         Case 2:18-cv-00928 Document 1-9 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Scott Lloyd, Director, Office of Refugee Resettlement
                                           c/o Office of the General Counsel
                                           United States Department of Health and Human Services
                                           200 Independence Avenue SW
                                           Washington, DC 20201



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             06/25/2018
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 2:18-cv-00928 Document 1-10 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                             Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kevin K. McAleenan, Acting Commissioner, United States Customs and Border
                                           Protection
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             06/25/2018
                                                                                            Signature of Clerk or Deputy Clerk
                        Case 2:18-cv-00928 Document 1-11 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Marc J. Moore, Seattle Field Office Director
                                           United States Immigration and Customs Enforcement
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             06/25/2018
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 2:18-cv-00928 Document 1-12 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                             Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kirstjen Nielsen, Secretary of Homeland Security
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528



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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                                  CLERK OF COURT


Date:             06/25/2018
                                                                                            Signature of Clerk or Deputy Clerk
                        Case 2:18-cv-00928 Document 1-13 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

     Yolany Padilla, Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Office of Refugee Resettlement
                                           c/o Office of the General Counsel
                                           United States Department of Health and Human Services
                                           200 Independence Avenue SW
                                           Washington, DC 20201



          A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             06/25/2018
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 2:18-cv-00928 Document 1-14 Filed 06/25/18 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                    __________        of of
                                                               District  Washington
                                                                            __________

      Yolany Padilla,Ibis Guzman, Blanca Orantes                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                             Civil Action No. 2:18-cv-928
                                                                     )
         United States Immigration and Customs                       )
                   Enforcement, et al.,                              )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Citizenship and Immigration Services
                                           c/o Office of the General Counsel
                                           Department of Homeland Security
                                           Mail Stop 3650
                                           Washington, DC 20528



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matt Adams
                                           Northwest Immigrant Rights Project
                                           615 Second Avenue, Suite 400
                                           Seattle, WA 98104
                                           matt@nwirp.org


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You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             06/25/2018
                                                                                            Signature of Clerk or Deputy Clerk
